
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-03-021-CV



CYNTHIA GAIL MCGILL	APPELLANT



V.



NEWELL DEAN MCGILL	APPELLEE



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FROM THE 78
TH
 DISTRICT COURT OF WICHITA COUNTY

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CORRECTED 
MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).
 



PER CURIAM	

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.		



DELIVERED: July 8, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




